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                                                                                  FILED
      IN THE UNITED STATES COURT OF FEDERAL CLAMl~                                      t 62012
     - -­    - - - - - - - -­                - - -­        -   - - - -_ -Iuu.sS..cCOURTOF
                                                                        FEDERAL CLAIMS
                               RICHARD P. WATSON,

                                         Plaintiff,

                                             v.

                     THE UNITED STATES OF AMERICA.
                                                               12 -785                           c
                                        Defendant.



                                      COMPLAINT


                               1.      JURISDICTION
I.     This Court has jurisdiction under the Tucker Act, 28 U.S.c. § 1491. Plaintiff

ratses claims arising under federal statutes and military regulations. The money-

mandating statutes are 37 U.S.c. § 204(a) (Military Pay Act) and 10 U.S.c. § 1201

(Disability Retirement and Compensation).

2.      If successful in this action, Plaintiff would be entitled to monetary relief in excess

of $10,000.00.

                                II.     THE PARTIES

3.     Mr. Richard P. Watson served in the United States Army and is a combat veteran

of operations in Iraq. He was adversely affected by decisions of Defendant.

4.     Defendant is the United States of America.
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       III.      STATUTE OF LIMITATIONS AND EXHAUSTION OF
                       ADMINISTRA TIVE REMEDIES

5.      28 U.S.C § 2501 requires the tiling of a claim in this Court within six years after

the claim first accrues.

6.      Mr. Watson's claims accrued on July 11, 2008, when he was involuntarily

discharged from the U.S. Army.

7.      On or about March 12,2012 Mr. Watson filed a permissive application for the

correction of hi s military records with the Army Board fo r the Correctio n of Military

Records ("ABCMR").

8.      On October 18, 2012 the ABCMR granted Mr. Watson's application in part and

denied in part.

9.      Mr. Watson has exhausted hi s ad ministrative remedies "vith respect to the claims

raised herein.

                           IV.   STATEMENT OF FACTS

1O.     Mr. Watson enlisted in the U.S. Army on September 9, 2004.

11.     He served until July 11 , 2008, when he was involuntarily separated for

misconduct.

12.     His Military Occupational Specialty ("MOS") was 19D 10, Cavalry Scout.

13 .    Mr. Watson first deployed to Iraq from May 28, 2005 through September 28,

2005, and then again from August 10,2007 to December 20, 2007.

14.     He was awarded the Good Conduct Medal for his service.




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15.       On September 6, 2006, while stationed in Vilseck, Gem1any, Mr. Watson

experienced the sudden onset of neurological symptoms while performing physical

training.

16 .      Mr. Watson suffered numbness in his left hand , face, and tongue, and was unable

to see correctly through his left eye.

17.       The Veterans Administration subsequently confirmed that this episode was the

first manifestation of Multiple Sclerosis ("MS"), from which Mr. Watson continues to

suffer.

18.       Mr. Watson received immediate medical evaluation and was admitted to Amberg

Hospital, Germany, where he remained for 10 day s

19.       The medical records reflect a diagnosis of Optic Neuritis.

20.       Radiologic studies showed central nervous system lesions (brain) with no

cerebrospinal fluid inflammation.

2 I.      The German physicians recommended a follow-up MRJ examination           In   three

months.

22.       The Army then placed Mr. Watson on a restrictive physical profile.

23.       On October 17,2006 Mr. Watson experienced a repeat of neurological symptoms

and was taken by ambulance to Amberg Hospital.

24.       A medical note from the Army (CPT James L. Duncan, Physician's Assistant)

states that Mr. Watson was experiencing "significant left sided weakness with hand

squeeze ...facial weakness on the left side of face with smiling noted drooping

mouth ... (ongue deviates to the right, uvula rises midline .... My working assessment is




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probable strokc or transient ischemic attack (TIA) with the possibility of many other

lesions including occult mass or demyelinating disease."

25.    Amberg hospital radiologic examination showed "unchanged representation of

isolated cerebral lesions in white matter right" and other concerning findings. They

"assumed" a diagnosis of "chronic inflammatory central nervous system disease."

26.    After his di scharge from hospital, the Army placed Mr. Watson on a T3 (H)

physical profile.

27.    After the initial onset of hi s MS, Mr. Watson suffered from indistinct vision and

strongly reduced left eye vision.

28.    A military Chronological Record of Medical Care ("CRMC") note dated October

13, 2006 reflects that Mr. Watson was seen for "decreased vis ion, OS , possibly due to

stroke, Sept 09-Sept J5." The report states a diagnosi s of "Optic Atrophy. "

29.    A CRMC note of October J6, 2006 stated that "paticnt is using a patch OS in

order to see properly with OD, use patch all the time ."

30.    A CRMC note of October 18, 2006 states a diagnosis of "Optic Atrophy."

3 1.   A CRMC note of October 23 , 2006 states "OS decreased vision after history of

poss ible stroke, pt is being seen by local Neurologist, OS red decreased 50% of OD,

positive afferent pupillary defect, dccreased color, please rule possible causes."

32.    A CRMC note of November 22, 2006 notes diagno ses of "Optic Atrophy" and

"Optic Neuritis."

33 .   Mr. Watson returned from leave in January 2007 and was assigned to the Vilseck

Law Center to assist soldiers and their families with income tax preparation and other

administrative matters.




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34.     Mr. Watson's superiors were very pleased with his work and sought to have him

reclassified as a paralegal and retained at the law center.

35.     Despite Mr. Watson's medical co nditions, the Army again deployed him to Iraq in

September 2007. On September 29, 2007 Mr. Watson was conducting a foot patrol and

was injured by an Improvi sed Explosive Device ("lED") blast.

36.     The blast and fl ying debri s knocked Mr. Watson to the ground and injured his

back.   He has experienced headaches approximately three times per week since the

explosion.

37.     Mr. Watson voiced concerns to his first sergeant about his medical issues and that

he should not be in Iraq.

38.     In the night of October 10,2007, two weeks after the lED blast, Mr. Watson fell

unconsciou s at the Forward Operating Base ("FOB") in Iraq.

39.     Hi s assigned rifle was located approximately 20 feet away from where he was

found unconscious.

40.     Mr. Watson was taken to the Aid Station for medical evaluation.

41.     On November 1, 2007 the Army charged Mr. Watson under Article 15

(Summarized) of the Uniform Code of Military Justice ("UCMJ") for having "wrongfully

disposed" of his weapon.

42.     Mr. Watson was found guilty and punished with restriction and 14 days of extra

duty.

43.     He did not appea l the Article 15 because he believed it would only make matters

worse for him.




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44.     Mr. Watson took leave in the United States from December 2, 2007 through

December 20, 2007.

45.     Upo n his return to Vilseck, Germany , Mr. Watson was infonned that he was to re­

deploy to Iraq on December 23, 2007.

46.     Mr. Watson infonned his Non-commissioned Officer in Charge ("NCOIC") and

others that he continued to experience neurological problems such as vision deficit, and

also needed to see behavioral health for depression, for which he had been treated in Iraq.

47.     On the morning of December 23,2007, Mr. Wat son refused to board a van to take

him to the airport for transport to Iraq.

48 .   A CRMC note of December 26, 2007 states that behavioral health officers in Iraq

had recommended that Mr. Watson return from deployment to Iraq after the September

27,2007 lED blast.

49.     The note also states that behavioral health officers in Iraq understood that Mr.

Watson had perfonned well at the Vil seck legal center and believed that he would do

better by remaining with that organization rather than re-deploy to Iraq.

50.     The note also reflected Mr. Watson's diagnoses of Optic Atrophy and Optic

Neuritis.

51.     On or about January 25, 2008 Mr. Watson collapsed in his room and was rushed

to a civilian hospital in Amberg, Germany.

52.     On January 3 I , 2008, while hospitalized, two Anny lawyers came to Mr.

Watson's room and informed him that he was being charged under the UCM] for mi ssing

movement to Iraq.




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53.     On the advise of his detailed Army defense counsel, Mr. Watson pled guilty at a

Special Court Martial.

54.     The Army sentenced him to reduction in rank to E- I and impri sonment fo r 28

days.

55.     The Army involuntarily discharged Mr. Watson for misconduct on July 11 , 2008 ,

"Under Other Than Honorable Conditions."

56.     On October 9, 2008 the Veterans Admini stration determined that Mr. Watson's

military service was honorable fo r purposes of benefits and medical care. According to

the VA:

             When reviewing the avail able evidence of record, it could not
             be established that Mr. Watson engaged in a pattern of
             persistent and willful misconduct. Of the two offenses, in
             particular, the charge of v,70ngfully disposing of a firearm , the
             evidence showed this to be an incident w here Mr. Watson'
             personally assigned weapon was misplaced fo r a short
             indeterminate amount of time and that Mr. Watson was
             actually unco nscious at the time of the "wrongful disposal".
             Additionally, the weapon had actuall y been found and turned
             in to the proper a utho rity a short time later.

57.     Concerning the charge that Mr. Watson unlawfully mi ssed movement to Iraq, the

V A concluded:

             ... the evidence of reco rd shows that Mr. Watson at that time
             was suffering from situat iona l and contextual depression based
             upon intermittent harassment and ali enation by members of
             his wlil. He had been diagnosed by the Theater Medical Care
             Provider, Brady Alexander-Rothwell, with an Adjustment
             Disorder With Mixed Emotional Features on Octo ber 13,
             2007, and then with a Chronic Depressive Personality
             Disorder, by Dr. C liff Hopewell on October 23, 2007.

58.     The V A also confi rmed Mr. Watson's diagnosis of Multiple Sclerosis. According

to Peter W. Pick, MD:




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               I can state with 100% medical certainty, thi s patient suffered
               an attack of mUltiple sclerosis in September -- October 2006
               when serving on active duty in the U,S, Army at Wielseck,
               Germany , He continues to have chronic neurological deficits
               due to secondary progressive multiple sclerosis, and made a
               partial recovery from thi s attack, He was absolutely correct in
               his refusal to return to Iraq in late December 2007, since he
               had not recovered from the attack of multiple sclerosis by that
               time; and he has still not recovered from the anack of multiple
               sclero sis that occurred in September -- October 2006,

59,     The VA currently rates Mr. Watson as 100% disabled,

60,     On or about March 12, 2012 Mr. Watson applied to the ABCMR for the

correction of his military records,

61.     In his application Mr. Watson reque sted that the ABCMR correct hi s records as

follows: (a) Void hi s discharge and separation dated July 11 , 2008; (b) Administratively

reinstate Mr. Watson to active duty effective July 12, 2008 with back pay and allowances;

Cc) Restore Mr. Watson to the grade of E-4 effective May 2, 2008; Cd) Refer Mr. Watson

to a Medical Evaluation Board for Army disability evaluation proce ssing; and (e) Award

Mr. Watson the Purple Heart Medal for concussion injuries sustained as a direct result of

enemy action,

62.     The ABCMR convened on October 18, 2012 and granted Mr. Watson' s

application as to the award of the Purple Heart Medal. The board denied all other

reque sted relief.

63,     The ABCMR concluded that "", the evidence of record confirm s that [Mr.

Watson] was never issued a permanent "3" profile, and he was never diagnosed with any

medical issue/disorder that required referral to an MEB/PEB during his active duty

service.'1




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64.     The board further concluded , "Notwithstanding his doctor's statement in February

2009, there is no evidence that shows the applicant was diagnosed with optic neuritis or

MS while he was on active duty."



                                V.      LEGAL CLAIMS

1.      THE ABCMR ERRONEOULSY FOUND THAT THE ARMY WAS
        NOT REQUIRED BY LAW TO REFER MR. WATSON TO A
        MEDICAL EVALUATION BOARD.

65.     Paragraphs I through 64 are incorporated herein by reference.

66.     Army Regulation CAR") 40-50 I establishes the medical standards for retention

and criteria for the referral of soldiers to a Medical Eva luation Board, the first step in the

Army Physical Disability Evaluation System.

67.     AR 40-501, Chapter 3-15, addresses conditions of the eyes that are cause for

refelTal to a MEB. It provides:

              ... c. Atrophy of the optic nerve due to disease.     ... g.
              Residuals or complications of injury or disease, when
              progressive or when reduced visual acuity does not meet the
              criteria stated in paragraph 3-16 e.

68.     Chapter 3-30 addresses neurological condition s that are cause for rcfclTal to a

MEB:

               e. Multiple sclerosis, optic neuriti s, transverse myelitis, and
              sim ilar demyelinating disorders.

69.     Chapter 3-3 governs the disposition of soldicrs who do not meet retention

standard s due to injury or illness. It provides:

              Soldiers with conditions li sted in this chapter who do not meet
              the required medical standards will be evaluated by an MEB
              as defined in AR 40-400 and will be refelTed to a PEB as



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             defined in AR 635-40 with the following caveats:

             a. US AR or ARNG/ARNGUS Soldiers not on active duty,
             whose medical condition was not incurred or aggravated
             during an active duty period, w ill be processed in accordance
             with chaptcr 9 and chapter 10 of this regulation.

             b. Soldiers pending separation in accordance with provisio ns
             of AR 635- 200 or AR 600-8-24 authorizing separation under
             other than honorab le conditions who do not meet medical
             retention standards will be referred to an MEB. In the case of
             enlisted Soldiers, the physical disability processing and the
             administrative separation processing will be conducted in
             accordance with the provi sion s of AR 635-200 and AR 635­
             40.

70.    Those provisions of law required the Army to refer Mr. Watso n to a MEB no later

than October 13 , 2006, when the Army diagnosed him with Optic Nerve Atrophy.

71.    Civilian physicians in Germany diagnosed Mr. Watson with Optic Neuritis on

October 17,2006, which also required MEB processing.

72.    Had the Army referred Mr. Watson to a MEB in October 2006, when it became

lawfu lly obligated to do so , he would not have been de ployed to Iraq in Septcmber 2007

and would not have incurred court martial charges in January 2008.

73 .   Medical examination through a MEB likely would have resulted in the diagnosis

of MS , which carries a minimum disability rating of 30%.

74.    Mr. Watson should have been medically retired.

75.    The ABCMR's finding that the Army was not required to place Mr. Watson into

the Army Disability Evaluation System was arbitrary, capricious, unsuppo rted by

substantial evidence, and contrary to law and mandatory procedure.




2.     THE ABCMR ERRONEOUSLY DETERMINED THAT THE
       ARMY'S DEPLOYMENT OF MR. WATSON TO IRAQ IN


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       SEPTEMBER 2007 AND ATTEMPTED                              DEPLOYMENT           IN
       DECEMBER 2007 WERE LAWFUL.

76.    Paragraphs 1 through 64 are incorporated herein by reference.

77.    AR 40-501         govcrns medical standards for deployment. Chapter 5-14(c)

specifically provides:

             Active duty Soldiers who do not meet the medical retention
             standards in chapter 3 of this regulation must be referred to an
             MEBIPEB for a fitness-for-duty determination .

78.    Mr. Watson did not meet thc medical retention standards of AR 40-501 , Chapter

3, due to his diagnoses of Optic Nerve Atrophy and Optic Neuritis, made on October 13,

2006, and October 17,2006, respectively.

79.    Under the deployment standards of AR 40-501 , Chapter 5-14, the Army was

required to refer Mr. Watson to "an MEBIPEB for a fitness-for-duty determination."

80.    The Army did not do so and therefore unlawfully deployed Mr. Watson to combat

in September 2007.

81.    The ABCMR's finding that the Army's deploymcnt of 'vir. Watson to combat was

proper is arbitrary, capricious, unsupported by substantial evidence, and contrary to law

and mandatory procedure.

3.     MR. WATSON'S REFUSAL TO DEPLOY ON DECEMBER 23, 2007
       WAS LEGALLY JUSTIFIED.

82.    Paragraphs I through 64 are incorporated herein by reference.

83.    Under the law of the Uniform Code of Military Justice, a defense to the charge of

disobeying an order (here, missing movement) is that the order conflicts with a military

regulation. United States v. Roach, 29 M.J. 33 (USCMA, 1989).

84.    Mr. Watson was charged with disobeying an order under Article 92 UCMJ.



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85.     The Army's order to Mr. Watson to re-dcploy to Iraq was unlawful because it

directly conflicted with AR 40-501 , chapters 3-3 and 5-14.

86.     Those provisions of law required the Army to refer Mr. Watson to a MEB for

medical evaluation.

87.     Under AR 40-501, Chapter 5-14, Mr. Wat son was medically non-deployable.

88.     The Army did not refer Mr. Watson to a MEB, and the order to re -deploy tl1us

was unJa",-[ul.

89.     Because the Army' s order to Mr. Watson to board a van and aircraft for re­

deployment to Iraq was unlawful , Mr. Watson committed no offense and was wrongly

charged and co nvicted .

90.     The Army's charge and conviction of Mr. Watson was contrary to law. His

discharge for misconduct--commission of a seriou s offense--therefore was unlawful.

9 1.    The ABCMR's findin g that Mr. Watson pre sented "no evidence that shows the

order to redeploy to Iraq on 23 December 2007 was an          unla~ul   orde r" was arbitrary ,

capricious, unsupported by substantial evidence, and contrary to law.

                                RELIEF REQUESTED

92.     Mr. Watson respectfully requests that the Co urt order Defendant to provide Mr.

Watson the following relief:

        (a) Void his discharge and separation dated July 11 , 2008;

        (b) Administratively reinstate Mr. Watson to active duty effective July 12, 2008

        with back pay and a llowances;

        (c) Restore Mr. Watson to the grade of E-4 effective May 2, 2008; and




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      Cd) Refer Mr. Wat son to a Medical Evaluation Board for disability evaluation

      processing.



                                   Respectfully submitted,




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November 13,2012




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